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                           United States District Court
                           Eastern District of Michigan
                                Northern Division

  United States of America,

              Plaintiff,
                                              Hon. Thomas L. Ludington

                                              Case No. 22-cr -20 708 -TLL-PTM
  Eddie Earl Hendrickson,

              Defendant.


                              Plea Agreement
       The United States of America and the defendant, Eddie Earl

 Hendrickson, have reached a plea agreement under Federal Rule of

 Criminal Procedure 11. The plea agreement's terms are:

 1.    Count of Conviction
       The defendant will waive his right to an indictment and will plead

 guilty to Count 1 ofthe information. Count          l   charges the defendant

 with conspiracy to commit financial institution fraud under           18 U.S.C.   SS


 1344(1) and 1349.




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  2     Statutory Minimum and Maximum Penalties
        The defendant understands that the count to which he is pleading

  guilty carries the following minimum and maximum statutory

 penalties:

     Count   1     Term of imprisonment:            Not more than 30 years

                   Fine:                            Up to $1,000,000

                   Term of supervised release:      Not more than 5 years


 3      Agreement Not to Bring Additional Charges
        Ifthe Court     accepts this agreement and imposes sentence

 consistent with its terms, the United States Attornev,s Office for the

 Eastern District of Michigan will not bring additional fraud charges

 against the defendant for the conduct reflected in the information.

 4.     Elements of Count of Conviction
        The elements of Count 1 are:

             1. That two or more persons conspired, or agreed, to commit

                 the crime of financial institution fraud. The elements of

                 financial institution fraud are:

                   a. First, that the defendant knowingly executed or
                      attempted to execute a scheme to defraud, that is, a
                      scheme to deceive or cheat a financial institution and

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                   to deprive it of something of value.

                b. Second, that the scheme included a
                   material misrepresentation of a material
                   fact.

                c. Third, that the defendant had the intent to
                   deceive or cheat the financial institution and to
                   deprive it of something of value.

                d. Fourth, that the financial institution was federallv
                   insured.

          2. That the defendant knowingly and voluntarily joined the

             consprracy.

 5.    Factual Basis
       The parties agree that the following facts are true, accurately

 describe the defendant's role in the offense, and provide a sufficient

 factual basis for the defendant's guilty plea:

       The defendant and Person A conspired and agreed to commit the

 crime of financial institution fraud. They agreed to, and executed, a

 scheme to deceive or cheat a financial   institution and to deprive it of

 something of value. That scheme included a material misrepresentation

 ofa material fact and both the defendant and Person A had the intent

 to deceive or cheat the financial institution and to deprive it of



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  something ofvalue. Both the defendant and Person A fraudulently

  obtained something of value. Finally, each financial institution involved

 was federally insured.

       From December 2019 through February 2020, tlne defendant and

 Person A, in the Eastern District of Michigan, knowingly and

 voluntarily combined, conspired, confederated, and agreed together and

 with each other, to devise and execute a scheme and artifice to defraud

 various frnancial institutions in order to obtain money, funds, and

 property owned by and under the control ofthe various financial

 institutions by means of false and fraudulent pretenses,

 representations, and promises.

       To execute this conspiracy, Person A agreed to obtain, and did

 obtain, without lawful authority, a means of identification of person B,

 specifically a stolen social security number. The name of person B was

 very similar to the defendant. Person A gave this information to the

 defendant, and the defendant used this information by knowingly, with

 the intent to defraud, presenting the stolen social security number to

 various financial institutions as his own knowing it to be stolen, for the

 purpose offraudulently obtaining loans to finance the purchase off-road


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 vehicles, motorcycles, and motor vehicles. Presentation ofthe stolen

 social security number by the defendant as his own was a material

 misrepresentation of a material fact.

       The following acts of financial institution fraud were knowingly

 and intentionally, and with the intent to defraud, committed by the

 defendant as a part of executing this conspiracy:

                                                 Financial   Loan
       Date         Vehicle       Vendor         Institution Amount
                    201.9                        American      $9,443.89
   a                Honda CRF Bay Cycle          Honda
       1212312019   450         Sales            Financial
                    (RedAMhite)                  Services
                  2020                           American      $11,556.47
   b              Honda TRX Bay Cycle            Honda
       12123t2019
                  520         Sales              Financial
                  (Red/White)                    Services
                    2020                        Financial      $9,125.94
                                  Shiawassee
  c.              Polaris                       PIus Credit
       7212812019                 Sports
                  Sportsman                     Union,
                                  Center
                    570                         Flint, MI
                    2020                        Financial      $8,437.14
                                  Shiawassee
  d.                Polaris                     Plus Credit
       L2128120t9                 Sports
                    Sportsman                   Union,
                                  Center
                  570                           Flint, MI
                  2OI2 Jeep                     Case Credit    $21,658.00
                                 Brighton
                  Grand                         Union
  e.                             Chrysler,
       t2130120t9 Cherokee
                                 Dodge, and
                                 Jeep



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                    2020                         Security      $3,719.e4
                                   Shiawassee
   f.             Polaris                        Credit
        0u0812020                  Sports
                  Outlaw-                        Union
                                   Center
                  Gray/Lime
                    2020                         Security      $3,719.94
                                   Shiawassee
                   Polaris                       Credit
        0110812020                 Sports
                   Outlaw-                       Union
                                   Center
                   Gray/Lime
                    2015 Ram       Brighton      Case Credit   $26,267.64
   h                1500 Rebel     Chrysler,     Union
        ou09t2020
                                   Dodge, and
                                   Jeep
   I              2018 Dodge       Automania     PNC Bank      $36,468.70
        oUt0t2020
                  Charger          LLC
                  2019                           Citizens      $36,186.00
   j
        out3l2020 Honda CRF        Extreme     Bank
                  450              Dodge/Truck
                  (RedAMhite)
   k                20t9                         Citi Bank     $3,796.48
                                  Genthe
        oyt4l2020 Honda
                                  Power Sport
                  TRX90X
                  2019                           Citi Bank     $3,796.48
   l.                             Genthe
        oyt4t2020 Honda
                                  Power Sport
                  TRX90X
                    20t9                         American      $10,044.36
   m.            Honda CRF Genthe                Honda
      071t412020
                 450R      Power Sport           Financial
                                                 Services
                    201.9                        American      $12,459.04
   n             Honda CRF Bay Cycle             Honda
        0u3U2020
                 45oRX     Sales                 Financial
                                                 Services
                    2079          Norde Ride     Citi Bank     $4,400.00
  o
        02178t2020 Honda CRF Motor
                    125FBL        Sports



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       Each of the financial institutions listed above were financial

 institutions as defined in   18 U.S.C. $ 20 whose deposits were then

 insured by the Federal Deposit Insurance Corporation.

       After obtaining the vehicles described above, the defendant and

 Person A either retained possession ofthe vehicles, sold them or gave

 them to third parties, or otherwise fraudulentlv disposed of them.

 6     Advice of Rights
       The defendant has read the information, has discussed the

 charges and possible defenses with his attorney, and understands the

 crime charged. The defendant understands that, by pleading guilty, he

 is waiving many important rights, including the following:

       A.    The right to plead not guilty and to persist in that plea;

       B.    The right to a speedy and public trial by jury;

       C.    The right to be represented by counsel-and, if necessary,

       have the court appoint counsel-at trial;

       D.    The right to be presumed innocent and to require the

       government to prove the defendant guilty beyond a reasonable

       doubt at trial;




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       E.    The right to confront and cross-examine adverse witnesses

       at trial;

       F.    The right to testifu or not to testifr at trial, whichever the

       defendant chooses;

       G. Ifthe defendant chooses not to testifii at trial, the right to
       have the jury informed that   it may not treat that   choice as

       evidence of guilt;

       H.    The right to present evidence or not to present evidence at

       trial, whichever the defendant chooses; and

       I.    The right to compel the attendance of witnesses at trial.

 7     Collateral Consequences of Conviction
       The defendant understands that his conviction here may carry

 additional consequences under federal or state law. The defendant

 understands that, if he is not a United States citizen. his conviction

 here may require him to be removed from the United States, denied

 citizenship, and denied admission to the United States in the future.

 The defendant further understands that the additional consequences of

 his conviction here may include, but are not limited to. adverse effects

 on the defendant's immigration status, naturalized citizenship, right to


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 vote, right to carry a firearm, right to serve on a jury, and ability to hold

 certain licenses or to be employed in certain fields. The defendant

 understands that no one, including the defendant's attorney or the

 Court, can predict to a certainty what the additional consequences of

 the defendant's conviction might be. The defendant nevertheless affirms

 that the defendant chooses to plead guilty regardless of any

 immigration or other consequences from his conviction.

 8     Defendant's Guideline Range
       A.      Court'sDetermination
       The Court will determine the defendant's guideline range at

 sentencing.

       B.   Acceptance of Responsibility
       The government recommends under Federal Rule of Criminal

 Procedure 11(c)(1)(B) that the defendant receive a two-level reduction

 for acceptance of responsibility under USSG        S   3E1.1(a). Further, if the

 defendant's offense level is 16 or greater and the defendant is awarded

 the two-level reduction under USSG        S   3E1.1(a), the government

 recommends that the defendant receive an additional one-level

 reduction for acceptance of responsibility under USSG          S 3E1.1@).   If,


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  however, the government learns that the defendant has engaged in any

  conduct inconsistent with acceptance of responsibility-including, but

  not limited to, making any false statement to, or withholding

  information from, his probation officer; obstructing justice in any way;

  denying his guilt on the offense to which he is pleading guilty;

  committing additional crimes after pleading guilty; or otherwise

  demonstrating a lack of acceptance of responsibility as defined in USSG

  $   3E1.l-the government will   be released from its obligations under

  this paragraph, will be free to argue that the defendant not receive ony

 reduction for acceptance of responsibility under USSG           S 3E1.1,   and   will
 be free to argue   that the defendant receive an enhancement for

 obstruction of justice under USSG    S   3C1.1.

         C.   OtherGuidelineRecommendations
         The parties also recommend under Federal Rule of Criminal

 Procedure 11(c)(l)(B) that the following guideline provisions apply:

 A ten (10) level enhancement under USSG           S   281.1(b)(1)(F) for loss

 exceeding $150,000.




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        D.    Factual Stipulations for Sentencing Purposes
       The parties stipulate that the following facts are true and that the

  Court may, but is not required to, rely on them in calculating the

  defendant's guideline range and imposing sentence: the total amount of

  fraudulently obtained loans is at least in the amount of g201,080.02.

       The parties have no additional factual stipulations for sentencing

  purposes.

       E.     Parties'Obligations
       Both the defendant and the government agree not to take any

  position or make any statement that is inconsistent with any of the

  guideline recommendations or factual stipulations in paragraphs 8.B,

  8.C, or 8.D. Neither party is otherwise restricted in what   it may argue
 or present to the Court as to the defendant's guideline calculation.

       F.     Not a Basis to Withdraw
       The defendant understands that he will have no right to withdraw

 from this agreement or withdraw his guilty plea if he disagrees, in any

 way, with the guideline range determined by the Court, even if that

 guideline range does not incorporate the parties' recommendations or

 factual stipulations in paragraphs 8.B, 8.C, or 8.D. The government


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  likewise has no right to withdraw from this agreement if it disagrees

  with the guideline range determined by the Court.

  I    Imposition of Sentence
       A.    Court's Obligation
       The defendant understands that in determining his sentence, the

  Court must calculate the applicable guideline range at sentencing and

  must consider that range, any possible departures under the sentencing

  guidelines, and the sentencing factors listed in 18 U.S.C. $ 3b53(a), and

  apply any applicable mandatory minimums.

       B.    Imprisonment
             1.    Recomrnendation

       Under Federal Rule of Criminal Procedure 11(cX1)(B), the

  government recommends that the defendant's sentence of imprisonment

 not exceed the midpoint of the defendant's guideline range as

 determined by the Court. The government further recommends that the

 defendant's sentence of imprisonment run concurrently to any state

 sentence imposed in Genesee County (Michigan) Circuit Court Case No.

 20-046719-FH.

             2.   No Right to Withdraw


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        The government's recommendation in paragraph 9.8.1 is not

  binding on the Court. The defendant understands that he will have no

  right to withdraw from this agreement or withdraw his guilty plea if the

  Court decides not to follow the government's recommendation. The

  government likewise has no right to withdraw from this agreement       if
  the Court decides not to follow the government's recommendation. If,

  however, the Court rejects or purports to reject any other term or terms

  of this plea agreement, the government   will be permitted to withdraw
  from the agreement.

        C    Supervised Release
             1.    Recommendation
       There is no recommendation or agreement as to the length of the

  term of supervised release and the parties are free to seek any term

  they deem appropriate.

             2.    No Right to Withdraw
       The defendant understands that the government's

  recommendation concerning the length of the defendant's sentence of

  imprisonment, as described above in paragraph g.B.1, will not apply to




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  or limit any term of imprisonment that results from any later

  revocation of the defendant's supervised release.

          D.   Fines
          There is no recommendation or agreement as to a fine and the

  parties are free to seek any amount they deem appropriate.

          E.   Restitution
          The Court must order restitution to every identifiable victim of

  the defendant's offense. There is no recommendation or agreement on

  restitution, although the defendant agrees that restitution shall be at

  least $201,080.02, the total amount of the fraudulently obtained loans.

  The Court will determine at sentencing who the victims are and the

  amounts of restitution they are owed.

          The defendant agrees that restitution is due and payable

  immediately after the judgment is entered and is subject to immediate

  enforcement, in full, by the United States. 18 U.S.C. gg 8612(c) and

  3613.   If the Court imposes   a schedule of payments, the defendant

  agrees that the schedule of payments is a schedule of the minimum

  payment due, and that the payment schedule does not prohibit or Iimit




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  the methods by which the United States may immediately enforce the

  judgment in full.

        The defendant agrees to make a full presentence disclosure of his

  financial status to the United States Attorney's Office by completing a

  Financial Disclosure Form and the accompanying releases for the

  purpose of determining his ability to pay restitution. The defendant

  agrees to complete and return the Financial Disclosure Form        within
  three weeks of receiving   it from government     counsel. The defendant

  agrees to participate in a presentencing debtor's examination      if
  requested to do so by go.,rernment counsel.

       F.    Forfeiture
       Pursuant to 18 U.S.C.    S 982(a)(2),   the defendant agrees to forfeit

  to the United States any and all property, real or personal, which

 constitutes proceeds obtained or Cerived, directly or indirectly, from the

 defendant's violation of 18 U.S.C. S 1349, conspiracy to violate 1g U.S.C.

 51344, as charged in Count One of the Information.

       The defendant also agrees to the entry ofa personal forfeiture

 money judgment against him in favor of the United States in an

 amount to be determined by the Court at the sentencing hearing, which


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  is equal to the amount ofproceeds the defendant obtained or derived,

  directly or indirectly, from his violation of 18 U.S.C. S 1849.

        The defendant agrees that the forfeiture money judgment may be

  satisfi.ed, to whatever extent possible, from any property owned or

  under the control of the defendant. To satisfy the money judgment, the

  defendant explicitly agrees to the forfeiture ofany assets he has now, or

  may later acquire, as substitute assets under 21 U.S.C. g 8b3(p)(2) and

  waives and relinquishes his rights to oppose the forfeiture ofsubstitute

  assets under 21 U.S.C. S 853(p)(1) or otherwise.

       The defendant agrees to the entry ofone or more orders of

  forfeiture, including a Preliminary Order of Forfeiture, containing the

  above referenced forfeiture ofproceeds and the forfeiture money

 judgment, upon application by the United States at, or any time before,

 his sentencing in this case. The defendant agrees to sign such an order,

 indicating he consents to its entry ifrequested to do   so by the

 government. The defendant agrees that the forfeiture order will be

 final and effective as to him upon entry by the Court.




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        The defendant waives his right to have a jury determine the

  forfeitability ofhis interest in the above identified property as provided

  by Rule 32.2(bxb) of the Federal Rules of Criminal Procedure.

        The defendant waives the requirements of Federal Rules of

  Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in

  the charging instrument, pronouncement ofthe forfeiture at sentencing,

  and incorporation ofthe forfeiture in the judgment. The defendant

  acknowledges that he understands that the forfeiture ofproperty is part

  of the sentence that may be imposed   in this   case and waives any   failure

  by the Court to advise him ofthis, pursuant to Rule 11(b)(1)(J), at the

  time his guilty plea is accepted.

       The defendant agrees to hold the United States, its agents and

  employees harmless from any claims whatsoever in connection with the

  seizure an<i/or forfeiture of property covered by this Plea Agreement.

 The defendant knowingly, voluntarily, and intelligently waives any

  statutory and constitutional challenge to the above-described forfeiture

 including any challenge based upon the Excessive Fines Clause ofthe

 Eighth Amendment to the United States Constitution.




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        G.       Special Assessment
        The defendant understands that he will be required to pay a

  special assessment of $100, due immediately upon sentencing.

  10.   Appeal Waiver
        The defendant waives any right he may have to appeal his

  conviction on any grounds. If the defendant's sentence of imprisonment

  does not exceed the top     ofthe guideline range determined by the Court,

  the defendant also waives any right he may have to appeal his sentence

  on any grounds.

  11. Collateral Review Waiver
        The defendant retains the right to raise claims alleging ineffective

  assistance ofcounsel or prosecutorial misconduct, as long as the

  defendant properly raises those claims by collateral review under 2g

  U.S.C.   S   2255. The defendant also retains the right to pursue any relief

 permitted under 18 U.S.C.       S   3582(c), as long as the defendant properly

 files a motion under that section. The defendant, however, waives any

 other right he may have to challenge his conviction or sentence by

 collateral review, including, but not limited to, any right he may have to

 challenge his conviction or sentence on any grounds under 2g U.S.C.



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  S 2255 (except   for properly raised ineffective assistance ofcounsel or

  prosecutorial misconduct claims, as described above), 28 U.S.C. S 2241,

  or Federal Rule ofCivil Procedure 59 or 60.

  12.   Consequences of Withdrawal of Guilty Plea or Vacation of
        Judgment
        If the defendant is allowed to withdraw his guilty plea, or if the

  defendant's conviction or sentence under this agreement is vacated, the

  government may reinstate any charges against the defendant that were

  dismissed as part of this agreement and may file additional charges

  against the defendant relating, directly or indirectly, to any ofthe

  conduct underlying the defendant's guilty plea or any relevant conduct.

  Ifthe government reinstates any charges or files any additional charges
  as permitted by this paragraph, the defendant waives his     riglrt to     .i


  challenge those charges orr the ground that they were not filed in a

  timely manner, including any claim that they were filed after the

  limitations period expired.

  13.   Use of Withdrawn Guilty Plea

        The defendant agrees that if he is permitted to withdraw his

  guilty plea for any reason, he waives all of his rights under Federal

  Rule of Evidence 410, and the government may use his guilty plea, any

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  statement that the defendant made at his guilty plea hearing, and the

  factual basis set forth in this agreement, against the defendant in any

  proceeding.

  14.   Parties to Plea Agreement
        This agreement does not bind any government agency except the

  United States Attorney's Office for the Eastern District of Michigan.

  15.   Scope of Plea Agreement

        This plea agreement is the complete agreement between the

  parties and supersedes any other promises, representations,

  understandings, or agreements between the parties concerning the

  subject matter of this agrdement that were made at any time before the

  guilty plea is entered in court. Thus, no oral or written promises made

  by the gorrernment to the defendant or to the attorney for the defendant

  at any time before the defendant pleads guilty are binding except to the

  extent they have been explicitly incorporated into this plea agreement.

  Ifthe parties have entered, or subsequently enter, into a written proffer
  or cooperation agreement, though, this plea agreement does not

  supersede or abrogate the terms   ofthat agreement. This plea
  agreement also does not prevent any civil or administrative actions


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  against the defendant, or any forfeiture claim against any property, by

  the United States or any other party.

  16.   Acceptance ofAgreement by Defendant
        This plea offer expires unless it has been received, fully signed, in

  the United States Attorney's Offrce by 4:00 p.m. on March 31,2022.The

  government may withdraw from this agreement at any time before the

  defendant pleads guilty.

                                             Dawn N. Ison
                                             United States Attorney

                                                                         )


  Anthony    P     ance                      J. Mich ae Iuckley
  Chief,         ch Offices                  WilliamJ. ailliencourt, Jr. \
  Assista        nited States                Assistant United States
  Attorney                                   Attorneys

  Dated: March 4,2022



        By signing below, the defendant and his attorney agree that the

  defendant has read or been read this entire document, has discussed        it
  with his attorney, and has had a full and complete opportunity to con{'er

  with his attorney. The defendant further agrees that he understands

  this entire document, agrees to its terms, has had all of his questions


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  answered by his attorney, and is satisfied with his attorney's advice and

  representation.



                                             a
  Haralambos D. Mihas                    Eddie           drickson
  Attorney for Defendant                 Defendant

  Dated:   j\t<lYu




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